                                                                                  MARY LaM.MORAN
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                                         DISTRICT COURT OF GUAM
                                           TERRITORY OF GUAM

1    ROLANDMnUISM,                                                         Criminal Case No. 96-00089
1       Defendant-Petitioner,                                              Civil Case No. 05-00041
                              VS.
     UNITED STATES OF AMERICA,                                                        ORDER
        Plaintiff-Respondent.                                 I
           This matter comes before the Court with respect to Petitioner Roland M. Abisia's ("Abisa")
    Notice of Appeal regarding this Court's Order filed March 8,2006. See Docket No. 70. A Notice
    of Appeal shall be construed as an Application for a Certificate of Appealability. See, FED,R. APP.
    P. 22(b). A certificate of appealability may be issued from a final order in a proceeding under 5 2255
    "only if the applicant has made a substantial showing of the denial of a constitutional right." 28
    U.S.C. 5 2253(c)(2). Abisia has not substantiallydemonstrated the denial ofhis constitutional rights,
    pursuant to 28 U.S.C. 5 2253(c)(2). Nor has he demonstrated that the issues surroundingthis Court's
    dismissal of Abisia's   5 2255 petition and denial of his motion to reconsider are "debatable among
    jurists of reason." See, Jennings v. Woodford, 290 F.3d 1006, 1010 (9thCir. 2002). Accordingly,
    Abisia's motion for a certificate of appealability is DENIED.
           SO ORDERED t h i s 2 day of April, 2006.




                                                                           United States District ~ u- d ~ e ~

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           * The Honorable Roger    T. Benitez, United States District Judge for Southern California, by designation.
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